                     IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                AT KNOXVILLE


 UNITED STATES OF AMERICA,                  )
                                            )
                            Plaintiff,      )
                                            )   No. 3:13-CR-161
                     v.                     )
                                            )
                                            )
 FERNANDO AMAYO GONZALEZ,                   )   (REEVES / GUYTON)
                                            )
                            Defendant.      )



                           MEMORANDUM AND ORDER

       All pretrial motions in this case have been referred to the undersigned pursuant to

 28 U.S.C.§ 636(b) for disposition or report and recommendation as may be appropriate.

 This case is before the Court on Defendant Amayo Gonzalez’s Motion by Defendant for

 Continuance [Doc. 692], filed on February 6, 2015. The Defendant asks the Court for a

 sixty-day continuance of the March 3, 2015 trial in this case and to reset the other

 deadlines and hearings. He argues that defense counsel needs additional time to review

 the voluminous discovery and to prepare the case for trial.       He also states that a

 codefendant has recently been arrested in Atlanta and will be entering the case soon. He

 notes that the Government does not oppose the requested continuance.

       By way of background, the Court observes that on December 10, 2013, the Court

 found the Defendant to be indigent and appointed [Doc. 7] Attorney Gerald L. Gulley,

 Jr., a Criminal Justice Act (CJA) panel attorney, to represent the Defendant. On March



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 14, 2014, the Court permitted [Doc. 232] the substitution of retained counsel Attorney

 Casey Caldwell and relieved Mr. Gulley as counsel of record. On August 5, 2014, the

 Court permitted Mr. Caldwell and his firm to withdraw and reappointed Mr. Gulley. At

 that time, the Court ordered Mr. Caldwell to provide all discovery in his or the firm’s

 possession along with the Defendant’s file to Mr. Gulley. The Court also continued the

 trial, upon Mr. Gulley’s request, to December 9, 2014. On December 9, the Court again

 continued the trial [Doc. 611] to March 3, 2015, finding that prior counsel’s delay in

 turning over discovery and Mr. Gulley’s full case load left counsel with insufficient time

 to prepare the case for trial. Mr. Gulley now requests additional time to complete his

 review of discovery and to advise the Defendant with regard to trial preparation. The

 parties have agreed on a new trial date of June 30, 2015.

               The Court finds the Defendant’s motion to continue the trial to be

 unopposed by the Government and well-taken. The Court also finds that the ends of

 justice served by granting a continuance outweigh the interest of the Defendant and the

 public in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Sealed Indictment [Doc. 3]

 charges the Defendant in nine counts, including a conspiracy to distribute and possess

 with intent to distribute cocaine and crack from August 1, 2012, to December 2, 2013.

 The Government has advised [Doc. 113 and 132] the Court that the investigation of this

 case spanned one and one-half years and involved over fifty controlled drug purchases

 and fifteen wiretaps, which yielded thousands of intercepted wire and electronic

 communications. The discovery is contained on a hard drive. The Court finds that

 defense counsel needs additional time to review the voluminous discovery, to locate and

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 interview witnesses, and to prepare the case for trial. The Court finds that without a

 continuance, counsel would not have the reasonable time necessary to prepare for trial

 despite his use of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).

       Additionally, the Court observes that a codefendant has been arrested in Atlanta

 and has yet to make an initial appearance in this district. Generally, codefendants in the

 same indictment are tied to the same trial schedule. Excluded from the speedy trial

 calculation is a “reasonable period of delay when the defendant is joined for trial with a

 codefendant as to whom the time for trial has not run and no motion for severance has

 been granted.” 18 U.S.C. § 3161(h)(6). Under this provision, time excludable as to one

 defendant is excludable to all codefendants. United States v. Holyfield, 802 F.2d 846,

 847-48 (6th Cir. 1986). Unlike some periods of delay automatically excluded by the Act,

 delay caused by joinder with a codefendant must be reasonable. Henderson v. United

 States, 476 U.S. 321, 327 (1986). In assessing the reasonableness of delay attributed to

 codefendants, courts should be guided by the policies supporting the enactment of section

 3161(h)(6) (formerly 3161(h)(7)):

              The legislative history of this section demonstrates a strong
              Congressional preference for joint trials and an intention that
              delays attributable to the joinder of defendants be liberally
              excluded. Further, the purpose of this section is to insure that
              the Speedy Trial Act does not alter the present rules
              governing severance of co-defendants by forcing the
              government to prosecute the defendants separately or be
              subject to a speedy trial dismissal motion.

 United States v. Monroe, 833 F.2d 95, 100 (6th Cir. 1987) (citations omitted). In other

 words, Congress expressly favored the goals of efficiency and economy resulting from


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 multi-defendant trials despite the loss of speed that would result from a severance. See

 id.

        In the present case, a defendant just entering the case will need time to prepare for

 trial. As discussed above, this case involves voluminous discovery, which counsel for the

 new defendant will need to review. The Court finds that the delay caused by the new

 defendant’s need to prepare for trial to be reasonable. This delay provides another basis

 for excluding the time leading up to the June 30 trial date. See 18 U.S.C. § 3161(h)(6).

        The Defendant’s motion [Doc. 692] to continue the trial and other deadlines is

 GRANTED, and the trial is reset to June 30, 2015. The Court finds that all the time

 between the filing of the Motion by Defendant for Continuance on February 6, 2015,

 and the new trial date of June 30, 2015, is fully excludable time under the Speedy Trial

 Act for the reasons set forth herein. See 18 U.S.C. § 3161(h)(1)(D), -(6), & -(7)(A)-(B).

 With regard to additional scheduling in this case, the Court extends the deadline for

 concluding plea negotiations to June 5, 2015. The parties are to appear before the

 undersigned for a final pretrial conference on June 23, 2015, at 11:00 a.m. This date

 shall also be the new deadline for providing reciprocal discovery. The Court instructs the

 parties that all motions in limine must be filed no later than June 15, 2015. Special

 requests for jury instructions shall be submitted to the District Court no later than June

 19, 2015, and shall be supported by citations to authority pursuant to Local Rule 7.4.

        Accordingly, it is ORDERED as follows:

               (1) The Motion for Continuance by Defendant [Doc. 692] is
               GRANTED;


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            (2) The trial of this matter is reset to commence on June 30,
            2015, at 9:00 a.m., before the Honorable Pamela L. Reeves,
            United States District Judge;

            (3) All time between the filing of the motion on February 6,
            2015, and the new trial date of June 30, 2015, is fully
            excludable time under the Speedy Trial Act for the reasons
            set forth herein;

            (4) The deadline for concluding plea negotiations is extended
            to June 5, 2015;

            (5) The parties are to appear before the undersigned for a final
            pretrial conference on June 23, 2015, at 11:00 a.m. This
            date shall also be the new deadline for providing reciprocal
            discovery;

            (6) Motions in limine must be filed no later than June 15,
            2015; and

            (7) Special requests for jury instructions with appropriate
            citations shall be submitted to the District Court by June 19,
            2015.

       IT IS SO ORDERED.
                                        ENTER:



                                        United States Magistrate Judge




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